.. FILED
Hand-Delivered ASHEVILLE, NC

MAY 28 2025
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA 8 ee Or NG.
ASHEVILLE DIVISION |
FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS }
PLAINTIFF }
} PLAINTIFF’S MOTION FOR LEAVE
}
V. } TO FILE SURREPLY
}
}
ASHEVILLE DETOX LLC et al. }
DEFENDENT }

NOW COMES Plaintiff Christopher Jonas Brooks, Pro se, and pursuant to Local Civil
Rule 7.1(e) and this Court’s inherent authority, respectfully moves this Court for leave to file a
surreply in response to Defendants’ Reply in support of their Motion to Dismiss and Motion to

Strike.

I. GOOD CAUSE EXISTS FOR SURREPLY

Defendants’ Reply raises new factual and legal issues*not addressed in their initial mot
ions:
1, New Factual Assertions: Defendants now claim the authenticity and enforceability of the purp
orted settlement document (dated May 15, 2025), despite previously admitting it was executed
after litigation commenced.
2. New Legal Argument: Defendants contend the document bars Plaintiff's claims, though it was

never disclosed prior to Plaintiff's Motion to Strike.

Il. SURREPLY IS NECESSARY FOR A COMPLETE RECORD

Case 1:25-cv-00058-MOC-WCM Docyment 18 Filed 05/28/25 Pagelof2

- Plaintiff's proposed surreply (Exhibit A) strictly addresses these new matters and rebuts
Defendants misleading characterizations of the settlement timeline.
- Denial would prejudice Plaintiff's ability to respond to Defendants’ newly raised defenses. See

Shay v. Walters, 702 F.3d 76, 81 (1st Cir. 2012) (surreply permitted to address new arguments).

Ill. THE SURREPLY IS NARROWLY TAILORED
The surreply is:

- Limited to 3 pages;

- Cites only new evidence/issues from Defendants’ Reply;

- Avoids redundancy with prior filings.

WHEREFORE, Plaintiff respectfully requests leave to file the attached surreply (Exhibit A).

Respectfully submitted,
/s/ Christopher Jonas Brooks

Christopher Jonas Brooks

Pro Se Plaintiff

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Case 1:25-cv-00058-MOC-WCM Document18_ Filed 05/28/25 Page 2 of 2

